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                   UNITED STATES COURT OF APPEALS                        FILED
                          FOR THE NINTH CIRCUIT                          NOV 13 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                       Nos. 23-35440, 23-35450

                Plaintiff-Appellee,

 v.                                             D.C. No. 1:22-cv-00329-BLW
                                                District of Idaho,
STATE OF IDAHO,                                 Boise

                Defendant,                      ORDER

 v.

MIKE MOYLE, Speaker of the Idaho House
of Representatives; CHUCK WINDER,
President Pro Tempore of the Idaho Senate;
THE SIXTY-SEVENTH IDAHO
LEGISLATURE, Proposed Intervenor-
Defendants,

                Movants-Appellants.



Before: MURGUIA, Chief Judge, and GOULD, CALLAHAN, M. SMITH,
OWENS, MILLER, BRESS, FORREST, VANDYKE, KOH and MENDOZA,
Circuit Judges.

      The Idaho Legislature’s motion to stay the district court’s injunction pending

appeal (Dkt. 31) is denied. See Nken v. Holder, 556 U.S. 418, 434 (2009). The

district court’s injunction therefore remains in effect. Further, we deny the Idaho

Legislature’s Emergency Motion Under Circuit Rule 27-3 (Dkt. 71) as moot.
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      The en banc court will proceed to consider the merits of this preliminary

injunction appeal. Absent further order of the Court, no additional briefing is

required.

      En banc oral argument will take place during the week of January 22, 2024,

in Pasadena, California. The date and time will be determined by separate order.

For further information or special requests regarding scheduling, please contact

Deputy Clerk Paul Keller at paul_keller@ca9.uscourts.gov or

(206) 224-2236.

      Within seven days from the date of this order, the parties shall forward to the

Clerk of Court eighteen additional paper copies of the original briefs and ten

additional paper copies of the excerpts of record. The paper copies must be

accompanied by certification (attached to the end of each copy of the brief) that the

brief is identical to the version submitted electronically. The Form 18 certificate is

available on the Court’s website at http://www.ca9.uscourts.gov/forms/.

      Judges Callahan, Miller, Bress, and VanDyke respectfully dissent from the

order denying Idaho’s motion to stay the district court’s injunction pending appeal

and would have granted the stay for substantially the reasons set forth in the

original three-judge motions panel order. See United States v. Idaho, 83 F.4th

1130 (9th Cir. 2023).




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